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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

PETER J. GARVIN,                                 )
                                                 )
         Plaintiff,                              )       Cause No.:
                                                 )
vs.                                              )       JURY TRIAL REQUESTED
                                                 )
SAINT LOUIS UNIVERSITY                           )
                                                 )
         Defendant.                              )

                                             COMPLAINT

         COMES NOW, Plaintiff Peter J. Garvin, by and through his undersigned counsel, and for

his Complaint and causes of action against Saint Louis University, states and alleges as follows:

                                       JURISDICTION AND VENUE

          1.     Plaintiff Peter J. Garvin (hereinafter referred to as “Plaintiff”) brings this action

against Defendant Saint Louis University (hereinafter referred to as “Defendant”) for their

violations of Plaintiff’s rights under the Constitution and laws of the United States of America.

          2.     This is an action for unlawful discrimination based on race brought under and

pursuant to Title VII of the Civil Rights Act, 42 U.S.C. §1981 and violation of the Missouri

Service Letter Statute, pursuant to R.S.Mo. §290.140.

          3.     On or about October 21, 2019 Plaintiff was deemed to have filed his Charges of

Discrimination with both the Missouri Commission on Human Rights (hereinafter referred to as

“MCHR”) and the Equal Employment Opportunity Commission (hereinafter referred to as

“EEOC”), complaining of the acts of discrimination based on race as alleged herein.

          4.     Plaintiff received his Notice of Right to Sue from the EEOC on or about October

21, 2019. See attached Notice of Right to Sue attached hereto, incorporated by reference herein

and marked as Exhibit 1.
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        5.     Accordingly, Plaintiff has fully complied with all prerequisites to jurisdiction of

this Court under Title VII, 42 U.S.C. §2000 et seq.

        6.     The discriminatory action of Defendant occurred in the City of St. Louis, State of

Missouri.

        7.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. §1331 for

Plaintiff’s claims under Title VII, 42 U.S.C. §1981 relative to discrimination based on race, and

more specifically this is a federal question of law.

        8.     Venue is proper in this District pursuant to 28 U.S.C §1391(b)(2) in that

Defendant’s unlawful employment practices and misconduct were committed in the City of St.

Louis, State of Missouri.

        9.     Plaintiff requests a trial by jury on all issues triable to a jury.

                                              PARTIES

        10.    Plaintiff Peter J. Garvin, was at all times relevant to this action a citizen and

resident of the City of St. Louis, State of Missouri, and was continuously employed by

Defendant from on or about February 26, 1996 through the present date.

        11.    At all times relevant to this action, Defendant was a benevolent corporation, with

a campus located in St. Louis City, Missouri and is an employer within the meaning of Title VII.

        12.    All of Defendant’s conduct, acts and omissions were performed by its agents,

representatives and employees while in the course and scope of their agency employment.

                              FACTS COMMON TO ALL COUNTS

        13.    On or about February 26, 1996, Plaintiff was employed by Defendant in the

position of Public Safety Officer, in the City of St. Louis, Missouri. Plaintiff’s.




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        14.    On August 8, 2018, Plaintiff’s immediate supervisor was Sergeant Edward

Agnew (White). On that date the Defendant’s Department of Public Safety (DPS) dispatch

center received a call from a person identifying themselves as an employee at the Pius Library,

located on Defendant’s campus. The reporting caller described the subject as a black male about

6 feet tall, curly hair and wearing black pants. At that time, dispatch did not provide any other

descriptive details of the alleged suspect’s clothing. It was also reported by another caller that an

individual, that fit the same description, was running through Defendant’s campus with a gun in

his waistband. Plaintiff, along with other officers from DPS were dispatched to the scene to

investigate and an emergency alert was sent through Defendant’s RAVE notification system

advising the student body of the threat.

        15.    Following the aforementioned dispatches, Plaintiff responded and during his

response he came into contact with two non-University individuals, Darren Combs and Chris

Bridgett at 3750 Lindell Blvd. on Defendant’s campus.

        16.    Plaintiff determined, as he approached the individuals, that Mr. Combs matched

the description on the dispatches. Plaintiff cautiously approached Mr. Combs and Mr. Bridgett

and rode past them on his bicycle, when he notices that Mr. Combs had a sweatshirt tied around

his waistband and “there was some obvious girth around his entire waist” as this was reportedly

where the gun was reported to be on the suspect.

        17.    At the same time, Sergeant Agnew witnessed the actions of Plaintiff and as he

approached Plaintiff, he asked Plaintiff if the one individual could be the person with the gun.

Sergeant Agnew made a U-turn.

        18.    Mr. Combs alleged that Plaintiff pulled his pistol from his holster and pointed his

weapon at him and Mr. Bridgett for no apparent reason. Mr. Combs contended that Plaintiff and



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Sergeant Agnew then yelled at them to get down. Sergeant Agnew admitted that he ordered Mr.

Combs and Mr. Bridgett to get to their knees and put their hands behind their hands interlocking

their fingers. Sergeant Agnew performed a check of Mr. Bridgett and Plaintiff conducted a

cursory check for a weapon on Mr. Combs. The checks of Mr. Bridgett and Mr. Combs

concluded with no found weapons and then Sergeant Agnew handcuffed Mr. Bridgett to control

the situation as Mr. Bridgett was closest to him.

        19.    At or around the same time of this interaction, Sergeant Andrew received an

updated dispatch call that a subject matching the description was now seen by other DPS

Officers at Grand and West Pine and had proceeded northbound to Grand and Lindell.

        20.    At that time, and during the same dispatch call, another African American Public

Safety Officer (Officer 1) responded. Officer, Kimmett Dean (African American/Black) pulled

his weapon on the wrong suspect in the same dispatch call. It was determined that the suspect in

Officer Dean’s stop was the actual initial victim that had reported being threatened with a gun.

        21.    Thereafter, following that incident by Officer Dean, pulling his weapon on the

actual victim, Officer Dean approached a second suspect and again drew his weapon. It was

determined that the second suspect was not the person who was described in the dispatches.

        22.    In addition, Officer Dean was the only DPS Officer to draw their weapon at both

incidents wherein he had mistakenly identified a suspect. At both scenes, Officer Dean was

accompanied by several other DPS Officers.

        23.    Following this event, Defendant conducted an investigation and determined on

January 4, 2019 that Plaintiff had not violated Defendant’s DPS’ Racial Profiling policy, but that

Plaintiff had used “extremely poor judgment” and his performance was considered unacceptable

for his position. Plaintiff was then suspended without pay for two weeks beginning January 5,



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2019 through January 18, 2019; suspended from participation on Defendant’s committees or

service activities during regular paid hours for the following two years; and was required to take

mandatory additional training on racial profiling, implicit bias and bias policing.

        24.    Officer Dean suffered no discipline.

        25.    In addition, it was discovered that Plaintiff’s immediate supervisors manipulated

and/or edited the incident reports to remove any information related to Officer Dean’s use of a

weapon on August 8, 2018.

        26.    Defendant’s behavior in fact damaged Plaintiff and Defendant’s behavior was

willful and wanton and such actions constitute the requisite acts to support and justify punitive

damages.

        27.    Defendant acted with malice or reckless indifference to federal laws, and it made

no good faith effort to comply with federal law. Such actions constitute the requisite acts to

support and justify punitive damages.

        28.    As a direct and proximate result of Defendant’s actions and inactions alleged

herein, Plaintiff has sustained, and is reasonably certain to sustain in the future irreparable harm

in numerous respects, including, but not limited to the following:

           a. Pecuniary and non-pecuniary losses, including, but not limited to, past and future

               lost wages, employment and job benefits, inconvenience;

           b. Loss of prestige among her co-workers and friends;

           c. Damages relative to embarrassment, humiliation, damage to reputation, and

               emotional distress;

           d. Attorney’s fees and expenses in pursuing redress for the wrong he has suffered by

               the actions of the Defendant; and



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            e. Permanent damage to his ability to secure employment at a level with similar and

                 higher pay and at a level below what his experience and training should generate.

                                               COUNT I

               DISCRIMINATION BASED ON RACE IN VIOLATION OF TITLE VII

         29.     Plaintiff restates paragraphs 1 through 28 above and incorporates them by

reference as if fully restated herein.

         30.     This count is instituted under 42 U.S.C. §2000e-2 (a)(1) of Title VII.

         31.     Plaintiff is Caucasian and at all relevant times was employed by Defendant in St.

Louis City, Missouri.

         32.     Defendant discriminated against Plaintiff on account of his race in violation of the

above stated statue by terminating Plaintiff suspending Plaintiff from work for two weeks and

removing him from committees for two years and requiring him to attend mandatory bias

trainings while not taking the same actions against Officer 1 and Sergeant Agnew.

         33.     The rationales for discipline of Plaintiff were pretextual.

         34.     The above-described actions are discriminatory in nature and specifically

designated to discriminate against Plaintiff on account of his race.

         35.     Plaintiff seeks damages under Title VII of the Civil Rights Act for the

Defendant’s unlawful employment practices which are related in whole or in part to

discrimination based on race against Plaintiff.

         WHEREFORE, Plaintiff prays for judgment in Count I in his favor and against the

Defendant and requests the following relief:

            a. Declaring all acts in violation of Title VII;




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           b. Defendants be required to compensate, reimburse, and make whole Plaintiff for

               the full value of both past and future wages and benefits that Plaintiff would have

               received had it not been for the Defendant’s illegal treatment of Plaintiff, with

               interest thereon;

           c. That Defendants be required to compensate Plaintiff for damages for

               embarrassment, humiliation, damage to reputation, and emotional distress;

           d. That this Court assess punitive damages against the Defendants in such sum as

               will properly punish said Defendant for its conduct complained here within; and

           e. That Plaintiff be awarded the costs of this litigation and his reasonable attorneys’

               fees.

                                                  Respectfully submitted,



                                                  CLARK LAW OFFICES, LLC



                                                  /s/ William J. Clark, IV
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                                                  Attorney for Plaintiff

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing system to:

Ian Cooper, Esq.
Tueth, Keeney, Cooper, Mohan &

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                                    /s/ William J. Clark, IV
                                    William J. Clark
                                    MBE# 40134




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